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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

PIONEER MILITARY LENDING
OF GEORGIA, INC.,

               Plaintiff,

vs.                                                    CASE NO.: 4:05cv153-SPM/AK

CHARLIE CRIST,
Attorney General of Florida,

           Defendant.
____________________________________/

                                        ORDER

        Pending before the Court is Plaintiff Pioneer Military Lending of Georgia,

Inc.’s Motion for Temporary Restraining Order.

        A party seeking preliminary injunctive relief must show four things: (1) a

substantial likelihood of success on the merits; (2) irreparable injury; (3) that the

injury to Plaintiff outweighs the harm an injunction may cause Defendants; and

(4) that granting the injunction would not disserve the public interest. Tefel v.

Reno, 180 F.3d 1286, 1295 (11th Cir. 1999). In addition, when the relief is

sought through a temporary restraining order that is issued upon little or no

notice, “the applicant’s attorney [must] certif[y] to the court in writing the efforts, if
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any, which have been made to give the notice and the reasons supporting the

claim that notice should not be required.” Fed. R. Civ. P. 65(b).

       In this case, Plaintiff has not made an adequate showing that to avoid

irreparable injury this matter must be heard without providing Defendant

reasonable notice. Defendant will be allowed a reasonable opportunity to

respond and be heard before injunctive relief is considered. Defendant’s

response to the complaint is due on May 19, 2005. At that time, Defendant can

also respond to the issue of preliminary injunctive relief and a hearing may be set

accordingly. Based on the foregoing, it is

       ORDERED AND ADJUDGED:

       1.     Plaintiff’s Motion for Temporary Restraining Order (doc. 2) is denied

as such, but will be treated as a motion for preliminary injunction.

       2.     Defendant shall have up to and including May, 19, 2005 to file a

written response to the motion for preliminary injunction.

       DONE AND ORDERED this 10th day of May, 2005.


                                      s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
